Case 2:20-cv-11181-CAS-JPR Document 62 Filed 10/22/21 Page 1 of 3 Page ID #:1099




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  11
                          UNITED STATES DISTRICT COURT
  12
                        CENTRAL DISTRICT OF CALIFORNIA
  13
  14 NEMAN BROTHERS & ASSOC.,                   Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  15
                  Plaintiff,                    JOINT STIPULATION TO
  16                                            MODIFY SUPPLEMENTAL
           v.                                   BRIEFING SCHEDULE
  17
     INTERFOCUS, INC. d.b.a.
  18 www.patpat.com, a Delaware
                                                The Hon. Christina A. Snyder
     Corporation; CAN WANG, and
  19 individual, and DOES 1-10, inclusive.,
  20              Defendants.
  21
  22 INTERFOCUS,      INC. d.b.a.
     www.patpat.com, a Delaware
  23 Corporation;  CAN WANG, an
     individual, and DOES 1-10, inclusive,
  24              Counterclaim Plaintiffs,
  25        v.
  26 NEMAN BROTHERS & ASSOC.,
  27 INC., a California Corporation,
  28              Counterclaim Defendant.


                  JOINT STIPULATION TO MODIFY SUPPLEMENTAL BRIEFING SCHEDULE
Case 2:20-cv-11181-CAS-JPR Document 62 Filed 10/22/21 Page 2 of 3 Page ID #:1100




   1        Plaintiff Neman Brothers & Assoc., Inc. (“Neman”) and Defendant Interfocus
   2 Inc.(“Interfocus,”), through their respective counsel, state the following:
   3        1. Due to family medical reasons, Interfocus’ Rule 30(b)(6) witness is not
   4            available on October 26, 2021, the previously agreed upon deposition date.
   5            This Rule 30(b)(6) deposition is now rescheduled to November 12, 2021.
   6        2. Parties stipulate that Neman should have sufficient time after the Rule
   7            30(b)(6) deposition to submit its reply brief relating to supplemental
   8            summary judgement briefing. Therefore, the date for Neman to file its
   9            reply brief should be extended to November 23, 2021, and Interfocus will
  10            bear the difference between the cost of normal transcript delivery and
  11            expediated transcript delivery by Neman’s deposition vendor, if any.
  12        3. The hearing is thus extended to December 6, 2021.
  13        4. Parties stipulate that Neman may have up to and including November 30,
  14            2021, to file a discovery motion relating exclusively to the Rule 30(b)(6)
  15            deposition.
  16        5. All other dates remain the same.
  17
  18 Dated: October 22, 2021                    RIMON, P.C.
  19
                                           By: /s/ Mark S. Lee
  20                                           Mark S. Lee
  21                                           Zheng Liu

  22                                            Attorneys for Defendants
  23                                            INTERFOCUS, INC. d.b.a.
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                   JOINT STIPULATION TO MODIFY SUPPLEMENTAL BRIEFING SCHEDULE
Case 2:20-cv-11181-CAS-JPR Document 62 Filed 10/22/21 Page 3 of 3 Page ID #:1101




   1 Dated: October 22, 2021                 JEONG & LIKENS, L.C.
   2
                                         By: /s/ Chan Yong Jeong
   3                                         Chan Yong Jeong
   4
                                             Attorneys for Plaintiff
   5                                         NEMAN BROTHERS & ASSOC., INC.
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                  JOINT STIPULATION TO MODIFY SUPPLEMENTAL BRIEFING SCHEDULE
